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 8
                                 UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

11
       JOHN A. OLAGUES and RAY                    Case No.:
12     WOLLNEY,
                                                  COMPLAINT FOR VIOLATION OF
13                     Plaintiffs,                SECTION 16(b) OF THE EXCHANGE
                                                  ACT
14     vs.
15
       ELON MUSK, JEFFREY B.
16     STRAUBEL, ANTONIO J. GRACIAS,              JURY TRIAL DEMAND
       AND KIMBAL MUSK,
17
                       Defendants,
18
19             -and-

20     TESLA, INC., a Delaware Corporation,

21                     Nominal Defendant.
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 1             Plaintiffs, allege, based upon knowledge with respect to the facts relating to themselves

 2   and upon information and belief with respect to all other allegations, as follows:

 3                                             INTRODUCTION
 4             1.       This action is brought pursuant to Section 16(b) of the Securities Exchange Act

 5   of 1934, as amended (the “Exchange Act”) [15 U.S.C. 78p(b)] (“Section 16(b)”), in order to

 6   recover short-swing insider trading profits realized by Defendants while they were statutory

 7   insiders of Tesla, Inc., which does business in California as Tesla Motors, Inc. (hereinafter

 8   referred to as “Tesla”). They acquired the right to receive the challenged Tesla shares in

 9   connection with Tesla’s acquisition of SolarCity Corporation (“SolarCity”)(the “Acquisition”).

10             2.       Section 16(b) of the Exchange Act requires company insiders to disgorge any

11   profits earned by Section 16 (b) insiders through short-swing insider trading (i.e., non-exempt

12   purchases and non-exempt sales, or non-exempt sales and non-exempt purchases of the

13   company’s equity securities, within less than a six month period). Actual misuse of inside

14   information is not an element of the claim although the statute embodies a presumption that

15   statutory insiders have access to such inside information.

16                                      JURISDICTION AND VENUE
17             3.       Jurisdiction in this Court arises under Section 27 of the Exchange Act [15 U.S.C.

18   §78aa].
19             4.       Venue is proper in the United States District Court for the Northern District of

20   California pursuant to 28 U.S.C. § 1391(b)(1) and/or (b)(3) as Tesla’s principal place of

21   business is in this District.

22                                                  PARTIES
23             5.       Plaintiff John Olagues is a shareholder of Tesla.

24             6.       Plaintiff Ray Wollney is a shareholder of Tesla.

25             7.       Defendant Elon Musk (“Musk”) was a founder and Chairman of the Board of

26   Directors of SolarCity and at all relevant times was the Chairman and CEO of Tesla within the

27   meaning of Section 16(b) of the Securities Exchange Act of 1934.

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 1             8.       Defendant Jeffrey B. Straubel (“Straubel”) was a member of the Board of

 2   Directors of SolarCity and the Chief Technical Officer of Tesla.

 3             9.       Defendant Antonio J. Gracias (“Gracias”) was a member of the Board of

 4   Directors of SolarCity and a member of the Board of Directors of Tesla.

 5             10.      Defendant Kimbal Musk (“Kimbal Musk”) was a shareholder of SolarCity and a

 6   member of the Board of Directors of Tesla.

 7             11.      Nominal Defendant Tesla is a Delaware corporation with its headquarters located

 8   at 3500 Deer Creek Road, Palo Alto, California 94304; and its vehicle manufacturing facility

 9   located at 45500 Fremont Blvd., Fremont, California 94538.

10             12.      Tesla’s common stock is registered with the SEC pursuant to Section 12 of the

11   Exchange Act and trades on the NASDAQ under the symbol TSLA.

12             13.      Plaintiffs sent letters dated August 29, 2018 to Tesla requesting that Tesla take

13   appropriate steps to recover short swing profits from Defendants Musk and Straubel. Plaintiffs

14   sent letters dated September 10, 2018 to Tesla requesting that Tesla take appropriate steps to

15   recover short swing profits from Defendants Gracias and Kimbal Musk. On October 26, 2018,

16   Tesla notified Plaintiffs that its Board had considered the requests and declined to take any steps

17   to recover the short swing profits. Plaintiffs sent a further request to Tesla on November 9,

18   2018. In a November 15, 2018 conference call, Tesla advised Plaintiffs that its position had not

19   changed and that it did not intend to take any steps to recover the short swing profits addressed

20   in this Complaint.

21                                        FACTUAL ALLEGATIONS
22   The Transactions
23             14.      Musk acquired the “right to receive” 2,403,024 shares of Tesla on November 21,

24   2016 for $185 per share in connection with the Tesla acquisition of SolarCity. Musk sold

25   2,403,024 shares of Tesla on May 25, 2016 at $213.22 per share resulting in a recoverable

26   profit.

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 1           15.     Straubel acquired the “right to receive” 83,407 shares of Tesla on November 21,

 2   2016 for $185 per share in connection with the Tesla acquisition of SolarCity. Straubel sold

 3   83,407 shares of Tesla on May 8 and 9, 2017 for $308 per share resulting in a recoverable profit.

 4           16.     Gracias acquired the “right to receive” 16,659 shares of Tesla on November 21,

 5   2016 for $185 per share in connection with the Tesla acquisition of SolarCity. Gracias sold (a)

 6   5,460 shares of Tesla on February 24, 2017 for $255.90 per share, (b) 5,590 shares of Tesla on

 7   February 6, 2017 for $254.40 per share, and (c) 5,600 shares of Tesla on January 25, 2017 for

 8   $254.40 per share resulting in a recoverable profit.

 9           17.     Kimbal Musk acquired the “right to receive” 16,150 shares of Tesla in

10   connection with the acquisition of SolarCity at a price of $185 per share. In a series of

11   transactions from June 13, 2016 through May 1, 2017, Kimbal Musk sold 16,150 shares of Tesla

12   for prices ranging from $197.60 per share to $315.70 per share resulting in a recoverable profit.

13   The Tesla/Solar City Acquisition
14           18.     This action involves a November 21, 2016 merger through which Tesla’s D

15   Subsidiary acquired SolarCity, which became a wholly owned subsidiary of Tesla.

16           19.     Tesla’s stated reason for declining to recover short swing profits from

17   Defendants is based on SEC Rule 16b-3(d)[17 CFR 240.16b-3(d)], which provides an

18   exemption to the penalties of Section 16(b) where the shares are acquired from the issuer in a

19   transaction that is “approved by the board of directors of the issuer” or “approved or ratified, in

20   compliance with section 14 of the Act, by . . . the affirmative votes of the holders of a majority

21   of the securities of the issuer . . . entitled to vote . . . in accordance with the applicable laws of

22   [Delaware].”

23           20.     For the reasons stated below, the vote of the Tesla Board to approve the

24   Acquisition by which Defendants received the shares in question was not a valid vote and,

25   likewise, the vote of the shareholders to approve the transaction was not a valid vote, so the

26   exemptions of Rule 16b-3(d) do not apply.

27           21.     This action involves a November 21, 2016 merger through which Tesla’s D

28   Subsidiary acquired SolarCity, which became a wholly owned subsidiary of Tesla.
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 1           22.    SolarCity was a public corporation headquartered in San Mateo, California that

 2   was founded by Musk and his cousins, Peter and Lyndon Rive.

 3           23.    Musk is Tesla’s largest stockholder. At the time of the Acquisition, Musk owned

 4   approximately 22.1% of Tesla’s common stock. He serves as the Chairman of the Tesla Board

 5   and as Tesla’s CEO and Chief Product Architect, although pursuant to settlement of an SEC

 6   enforcement action, Musk is presently being replaced as Chairman. He also led Tesla’s pre-

 7   initial public offering (“IPO”) funding rounds. Tesla has acknowledged in its SEC filings that

 8   Musk is not an independent director.

 9           24.    Musk also served as the Chairman of the SolarCity Board. He was SolarCity’s

10   largest stockholder, holding approximately 21.9% of its common stock prior to the Acquisition.

11   As a result of the Acquisition, Musk’s SolarCity holdings were converted to over $500 million

12   of Tesla shares. Musk has publicly maintained that Tesla, SolarCity and SpaceX form a

13   “pyramid on top of which he sits, and that it is “important that there not be some sort of house of

14   cards that crumbles if one element of the pyramid . . . falters.”

15           25.    At the time of the Acquisiton, Tesla’s Board had seven members, Musk, Brad W.

16   Buss, Robyn M. Denholm, Ira Ehrenpreis, Antonio J. Gracias, Stephen T. Jurvetson and Kimbal

17   Musk.

18           26.    Buss was a Chief Financial Officer of SolarCity and worked as an employee or

19   consultant of SolarCity through December 31, 2016, earning compensation of over $32 million.

20   Tesla’s 2015 proxy statement acknowledges that Buss is not an independent director.

21           27.    Ehrenpreis is a managing partner and co-owner of the venture capital firm, DBL

22   Partners, which he co-founded with fellow managing partner and co-owner Nancy Pfund. Pfund

23   was an observer on the Tesla Board from 2006 to 2010. She was also a member of the

24   SolarCity Board and one of two members of the SolarCity Board’s special committee that

25   negotiated and approved the Acquisition. At the time of the Acquisition, Pfund beneficially

26   owned 1,554,114 shares of SolarCity common stock. She is a close friend of Musk’s.

27           28.    Gracias is Tesla’s Lead Independent Director and also a close friend of Musk.

28   Musk gave Gracias the second Tesla Roadster ever made. Gracias served on SolarCity’s Board
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 1   at the time of the Acquisition and beneficially owned 211,854 shares of SolarCity common

 2   stock. He is also the founder and CEO of the private equity firm Valor Management Corp.,

 3   which participated in several pre-IPO funding rounds for Tesla and SolarCity. Musk invested

 4   $2 million in each of two Valor funds.

 5          29.     Jurvetson is also close friends with Musk, who gave Jurvetson the first Tesla

 6   Model S and the second Tesla Model X ever made. Jurvetson owned 417,450 shares of

 7   SolarCity common stock at the time of the Acquisition. Jurvetson’s venture capital firm, Draper

 8   Fisher Jurvetson (“DFJ”) invested in both Tesla and SolarCity. At the time of the Acquisition,

 9   funds managed by DFJ beneficially owned 3,308,266 shares of SolarCity common stock. Musk

10   invests in DFJ and one of Musk’s trusts is a limited partner in a DFJ fund.

11          30.     Kimbal Musk is Musk’s brother and cousin of Lyndon and Peter Rive,

12   SolarCity’s co-founders. Tesla’s SEC filings acknowledge that Kimbal Musk is not an

13   independent director. At the time of the Acquisition, Kimbal also beneficially owned 147,541

14   shares of SolarCity common stock. Kimbal Musk is also a limited partner in two Valor funds.

15          31.     At the time of the Acquisition, SolarCity faced significant liquidity concerns. Its

16   stock had declined approximately 64% in value between February 2015 and February 2016.

17   SolarCity had substantial debt and had attempted to raise capital through bond offerings. It was

18   also sued for misappropriating trade secrets and intellectual property with regard to its solar cell

19   shingling technology, which Musk had declared to be the driver of the value any synergies in

20   the Acquisition.

21          32.     Musk repeatedly presented the Tesla Board with proposals for acquiring

22   SolarCity. The Board considered these requests without ever looking at other more valuable

23   opportunities available in the market.

24          33.     Tesla announced its offer to purchase SolarCity on June 21, 2016 in a transaction

25   that was proposed by and was being driven by Musk. On July 20, 2016, Musk published a

26   statement on Tesla’s website which reflected that the Acquisition was being driven by Musk, as

27   it has been a component of his strategy for Tesla for at least 10 years.

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 1          34.       In July and August 2016, SolarCity was at high risk of default on its Revolver

 2   loan. Musk, and his cousins Lyndon and Peter Rive, responded by acquiring $100 million of

 3   SolarCity bonds. It was also learned that SolarCity’s Buffalo, NY factory was behind schedule,

 4   over budget, and at risk of losing the incentives provided for locating its factory there.

 5          35.       On August 1, 2016 Tesla and SolarCity announced the Merger Agreement,

 6   pursuant to which Tesla would acquire SolarCity in an all-stock deal. The Merger Agreement

 7   provided for each share of SolarCity common stock to be converted into “the right to receive”

 8   0.110 shares of Tesla common stock. The Acquisition was a bailout of SolarCity that benefitted

 9   six of the seven members of the Tesla Board or their family members, businesses and business

10   partners.

11          36.       In the Acquisition, all outstanding Shares of SolarCity, including those owned by

12   officers or directors of SolarCity were then disposed of to SolarCity as indicated on the SEC

13   Form 4 of November 21, 2016. SolarCity then converted those shares into the “right to receive”

14   Tesla shares.

15          37.       The Tesla Board’s vote to approve the Acquisition was not a valid approval of

16   the transaction because of Musk’s control over the Tesla Board. Musk held 22.1% of the Tesla

17   stock and he had demonstrated a willingness to oust senior management who displeased him, as

18   he did with founder and former CEO Eberhard. Musk was the public face of Tesla and no steps

19   were taken to separate Musk from the Board’s consideration of the Acquisition. The Board

20   never considered forming a committee of disinterested, independent directors to consider the

21   Acquisition, notwithstanding the obvious conflicts its members held. Accordingly, the vote of

22   the Board to approve the Acquisition constituted a breach of fiduciary duty owed to Tesla by

23   those Board members.

24          38.       The combination of Musk’s voting influence, his domination of the Board during

25   the process leading up to the Acquisition, along with his extraordinary influence within the

26   company generally, the conflicts at the Board level that diminished the Board’s resistance to

27   Musk’s influence, and Tesla’s and Musk’s own acknowledgements of his level of influence

28   establish Musk’s status as a controlling stockholder.
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 1             39.    The vote of the Tesla stockholders to approve the Acquisition was also invalid as

 2   a result of a proxy statement that failed to disclose the conflicts among the Board, Musk’s

 3   degree of control over the vote of the Board with regard to the transaction in which he was an

 4   interested party, and other information relevant to the Acquisition. Additionally, institutional

 5   stockholders who held equity positions in both Tesla and SolarCity should have been excluded

 6   from the vote tally for purposes of assessing the results and effect of a disinterested vote.

 7   Tesla’s top 25 institutional stockholders holding 45.7% of Tesla’s stock also held SolarCity

 8   stock at the time of the Acquisition.

 9   The Transaction between Defendants and SolarCity were not Exempt because SolarCity
10   was not the Issuer of the shares that Defendant Initially Obtained the Right to Receive
11             40.    An alternative reason that the claimed exemption does not apply is that in this

12   series of transactions, the issuer was Tesla but the initial transactions were between SolarCity

13   and Defendants, who were insiders of both SolarCity and Tesla, as stated on the November 23,

14   2016 SEC Forms 4 for the transactions on November 21, 2016.

15             41.    According to the Merger Agreement, and from Tesla and SolarCity Forms 8-K

16   and Schedules 13D and from the statements on the SEC Forms 4, prior to November 21, 2016,

17   the D subsidiary was created by Tesla and at the “Effective Time” on November 21, 2016,

18   SolarCity was merged with the D subsidiary, with SolarCity the surviving wholly owned

19   subsidiary of Tesla.

20             42.    According to the Merger Agreement and the Forms 8-K and Schedules 13D filed

21   by Tesla and SolarCity, all SolarCity shares were converted into “the right to receive” Tesla

22   shares.

23             43.    According to the SEC Form 4 filing SolarCity is the issuer and Musk was a

24   Director and 10% owner of SolarCity. This SEC Form 4 indicates that Musk in a transaction

25   with SolarCity disposed of 21,845,674 shares of SolarCity to SolarCity. SolarCity then

26   converted the 21,845,674 SolarCity Corp shares into the right to receive 2,403,024 shares of

27   Tesla, with Musk acquiring “the right to receive” 2,403,024 shares of Tesla. The same

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 1   disclosures and series of transactions, albeit with different numbers of shares, was made for

 2   each of the Defendants other than Musk.

 3             44.      There are no separate SEC Forms 4 filed by Defendants that indicate the

 4   “acquisition of the right to receive” the shares of Tesla stock (i.e. defined as a “purchase” in 15

 5   U.S.C. 78c(a)(13).

 6             45.      Nothing in the Merger Agreement or the Forms 8-K or the Schedules 13D filed

 7   by Tesla or SolarCity indicates a purchase transaction between Tesla and Defendants of Tesla

 8   shares.

 9             46.      An SEC Form 4 filed on November 21, 2016 on behalf of Musk indicates that

10   there was an acquisition of 2,403,024 shares of Tesla shares pursuant to Rule 16b-3(d) by Musk,

11   indicated by an entry of “A” into Column 3 of Table 1 of the SEC Form 4. This SEC Form 4

12   was filed notwithstanding the fact that there was no such transaction indicated in the Merger

13   Agreement or the Forms 8-K or Schedules 13D of Tesla or SolarCity.

14             47.      Therefore the challenged transactions were not between insiders and the issuer

15   Tesla. Thus the challenged transactions are non exempt purchases for Section 16(b) matching.

16                                                   COUNT I
17                             (Violations of Section 16(b) of the Exchange Act)
18             48.      Plaintiffs reallege and incorporate herein all allegations in the preceding

19   paragraphs.

20             49.      Defendants profited by their purchase and sale of Tesla stock by engaging in

21   such transactions within a six month period. Defendants’ challenged transactions violated

22   Section 16(b) of the Exchange Act.

23             50.      Defendants must disgorge all profits from short-swing transactions to Tesla, in an

24   amount to be proven at trial.

25             WHEREFORE, Plaintiff demands judgment of Defendants as follows:

26             1.       For recovery to Tesla from Defendants of all profits resulting from their short

27   swing transactions in Tesla equity securities in violation of Section 16(b) of the Securities

28   Exchange Act of 1934 in an amount to be proven at trial;
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 1          2.      For prejudgment and postjudgment interest on the amount of profits recovered,

 2   calculated from the time Defendants realized the profits;

 3          3.      For Plaintiffs’ attorneys fees and expenses; and,

 4          4.      For such other and further relief as the Court deems just.

 5                                       JURY TRIAL DEMAND
 6          Plaintiffs demand a jury trial on all issues so triable.

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 8   DATED: November 21, 2018                       GREEN & NOBLIN, P.C.

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